      Case 3:19-cr-00318-K Document 34 Filed 11/11/19              Page 1 of 2 PageID 166
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


UNITED STATES OF AMERICA                        §
                                                §
                                                §           CASE NO. 3:19-cr-00318-K
vs.                                             §
                                                §
SANJAY NANDA                                    §

DEFENDANT NANDA’S UNOPPOSED MOTION FOR CONTINUANCE OF SENTENCING

        COMES NOW the Defendant, Sanjay Nanda in the above-styled case, by and through his

attorney of record, and files his Unopposed Motion for a Continuance of Sentencing. The

Defendant respectfully requests a (90) ninety-day continuance to allow time for parties to

continue acquiring information and materials pertinent to full and proper consideration of

sentencing issues.

                                             Respectfully submitted,



                                             /s/ Robert R. Smith
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DEFENDANT NANDA’S UNOPPOSED MOTION FOR CONTINUANCE OF SENTENCING
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                            CERTIFICATE OF CONFERENCE

     I hereby certify that I have conferred with Assistant United States Attorney
Yanowitch, and he has advised that he has no objection the granting of this motion.

                                            /s/ Robert R. Smith
                                            Robert R. Smith




                                CERTIFICATE OF SERVICE

       I certify that on the 11 day of November, 2019, a true and correct copy of the foregoing
was served upon Assistant United States Attorney Yanowitch via ECF.


                                            /s/ Robert R. Smith
                                            Robert R. Smith




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DEFENDANT NANDA’S UNOPPOSED MOTION FOR CONTINUANCE OF SENTENCING
